CaSe 8-18-08011-|&8 DOC 24 Filed 05/03/18 Entered 05/03/18 09238251

UNITED STATES BANKRUPTCY COUR'I`
EASTERN DISTRICT OF NEW YORK

_______________________________ X
ln rec
ANDREA J. DUNN a/l<a/
ANDREA J. TRAUTMANN,

Debtor.
_______________________________ X

ANDREA J. DUNN a/k/a
ANDREA .I. 'l`RAUTMANN,

Pfaintiff,
~ against ~

NAVIENT PRIVATE LOAN TRUS'I`,
NAVIENT CREDIT FINANCE CORP.,
UNITED STATES DEPARTMEN'I` OF
EDUCATION, PENNSYLVANIA I-IIGHER
EDICATION ASSISTANCE AGENCY d/b/a/
AMERICAN EDUCATION SERVICES,
NAVIENT d/b/a NAVIENT SOLUTIONS, LLC
f/k/a SALLIE MAE, individually and as
successor 110 United Statcs Department of
Education, NAVIENT F/k/a SALLLIE MAE,
individua}ly and as successor to United States
Department of Education, COLLEGIATE
TRUST, NATIONAL COLLEGIATE STUDENT
LOAN TRUST 2006-3, 'I`HE EDUCATION
RESOURCES TNSTITUTE INC., JP MORGAN
CHASE BANK NA, CITIZENS BANK NA, f/k/a
CI~-IARTERONE BANK NA, EDUCA",[`IO]\I¢@'J_J
CREDIT MANAGEMEN'[` CORPORATION,
THE BANK OF NEW YORK MELLON
CORPORATION, and STRADA EDUCA'I`ION
NETWORK INC f/k/a USA FUNDING INC.,

Defendants.
_______________________________ X

Chapter 7
Case No. 12-73616~LAS

Adversary Pro. NO. 8-18-08011

STIPULATION AND ORDER OF
DISMISSAL WlTI-I PREJUDICE

 

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Dunn ici/fda Trautmcmn v. Deparlment QfEdLic'cr!ion, Adv. Proc. No. 8-}8-81()0»[¢13
S!ipulation and Oi'der‘ quismi.s'Snl with Pr'e;`udice

i. IT IS HEREBY STIPULATED AND AGREED by and between the Piaintiff-Debtor
Andi'ea Dunn a/k/a Andrea Trautmann (“Piaintiff"Debtor”) and the Department of Education
(“DOE”), by and through their respective undersigned counsel, that this action and any and all
claims arising therefrom against the DOE are hereby dismissed With prejudice pursuant to Ruie
4l(a)(2) of the Federai Rules of Civil Procedure and Rule 7041 of the Federai Rules of Bankruptcy
Procedure, With each party to bear her/its own costs, fees and disbursements Piaintiff~Debtor
further agrees that no further suit wili be instituted against the DOE for the same causes of action

Which have been asserted herein, or for any other causes of action arising out of the incidents or

circumstances Which gave rise to this iawsuit.
2. The DOE is hereby dismissed as a party to Adversary Proceeding No. 8-18~08011.

Dated: Comrnack, New Yorl<
Api-ii 30 ,2013

Sonier, Heiier & Corwin, LLP
Atlorneysfor Plaimifj?’Debfor
2171 Jericho Turnpii<e

Suite 350

Commack, NY t 1725

By: Melissa Coi'Win, Esq.
(63]) 462-2323

 

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Dimn a/k/a Tmuimann v. Depm'tmem QfEdzication, Adv. Proc. No. 8-]8~8100~[5:3
Sffpulation and Order ofDismisscrl with Prejudice

Dated: Central Isiip, New York
April , 2018

RICHARD P. DONOGHUE

United States Attorney

Eastern District oi`NeW York

At!orneyfor Defendcml Depm-'nnem QfEducation
610 Federai Plaza, 5th Floor

Central Islip, NeW Yoi'k 1 i722

By: /s/Diane C. Leonardo
Diane C. Leonardo
Assistant United Statcs Attorney
(631) 715~7854
diane.beci<mann@usdoj . gov

SO ORDERED:

 

Honorabie Louis A. Scarceila
United States Bankruptcy Court

 

